Case 8:08-cr-00270-S_B-AAS Document 444 Filed 03/18/13 Page 1 of 6 PageID 2953
Case 8:08-cr-00270-S_B-AAS Document 444 Filed 03/18/13 Page 2 of 6 PageID 2954
Case 8:08-cr-00270-S_B-AAS Document 444 Filed 03/18/13 Page 3 of 6 PageID 2955
Case 8:08-cr-00270-S_B-AAS Document 444 Filed 03/18/13 Page 4 of 6 PageID 2956
Case 8:08-cr-00270-S_B-AAS Document 444 Filed 03/18/13 Page 5 of 6 PageID 2957
Case 8:08-cr-00270-S_B-AAS Document 444 Filed 03/18/13 Page 6 of 6 PageID 2958
